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ron THE WESTERN DlsTRIcT oF TENNESSEE “-~~ D-C.
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UNITED sTATEs oF AMERICA ) rcqu
)
Piaimiff, )
)
vs ) cR. No. 04-20389-1\/11
)
CYNTHIA MCCASTER )
)
Det`endant. )
om)ER To sURRENI)ER

 

The defendant, Cynthia McCaster, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by repolting to the FMC LEXINGTON,
3301 Leestown Road, Lexington, KY 40511 by 2:00 p.m. on MONDAY, AUGUST 1, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the § day of July, 2005.

MQM‘QM

JO PHIPPS McCALLA
ITED S'I`ATES DISTRICT JUDGE

 

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Thts document entered on the docket sheet tr
with Ru|a 55 and!or 32(b) FHCrP on

Case 2:04-cr-20389-.]PI\/| Document 47 Filed 07/15/05 Page 2 of 3 Page|D 72

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, 1 may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or hoth.

 

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

UNITED sTATE DRISTIC COURT - WTERN DTRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20389 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listedl

 

 

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Honorable J on McCalla
US DISTRICT COURT

